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Western District of Wash

 

 

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In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)
Subject Accounts 1-7, which are maintained,
controlled or operated by Facebook, Inc., and further
described in Attachment A

Case No. INWT1IG -504/

a

APPLICATION FOR A SEARCH WARRANT

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that ] have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

The Subject Accounts as further described in Attachment A, which is attached hereto and incorporated herein by this reference.

located in the Northern District of California . there is now concealed (identify the
person or describe the property to be seized):

See Attachment B, incorporated herein by reference.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
& evidence of a crime;

contraband, fruits of crime, or other items illegally possessed;
of property designed for use, intended for use, or used in committing a crime;
O a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section ; Offense Description
Title 18, U.S.C. § 2423(b) Travel with Intent to Engage in Illicit Sexual Conduct
Title 18, U.S.C. § 225 1(a) Production of Child Pornography
Title 18, U.S.C. § 2252(a)(2) Receipt/Distribution of Child Pornography
Title 18, U.S.C. § 2252(a)(4)(B) Possession of Child Pornography

The application is based on these facts:
¥ See attached Affidavit continued on the attached sheet

|] Delayed notice of days (give exact ending date if more than 30 days; is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Pursuant to Fed. R. Crim. P. 4.1, this warrant is presented: [ | by reliable electronic means; or:

KoA

Applicant's signature

telephonically recorded.

  

“ SPECIAL AGENT KYLE McNEAL, FBI

 

 

Printed name and title

© The foregoing affidavil was sworn to before me and signed in my presence, or
© The above-named agent provided a sworn statement attesting to the truth of the foregoing affidavit by telephone.

- %
Date: 03/20/2019 Shorea L. “DSuiclee
Judge 's signature

City and state: TACOMA, WASHINGTON THERESA L. FRICKE, United States Magistrate Judge

Printed name and title

USAO: 2019R00192
 

 

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ATTACHMENT A - Facebook, Inc. Accounts

The electronically stored data, information, and communications contained in,

related to, and associated with, including all preserved data associated with Facebook,

Inc. accounts:

e SUBJECT ACCOUNT 1: “Moeun Yoeun” (UID: 100014267529700)

° SUBJECT ACCOUNT 2: “Moeun Nobeatches” (UID: 100029529789553)
e SUBJECT ACCOUNT 3: “Moying Yoen” (UID: 100031404392100)

e SUBJECT ACCOUNT 4: “Moo Yo” (UID: 100000914824197)

° SUBJECT ACCOUNT 5: “Morin Yuin” (UID: 100034410908581)

° SUBJECT ACCOUNT 6: “J.C.” (UID: )

e SUBJECT ACCOUNT 7: “Y.C.” (UID: )

as well as all other subscriber and log records associated with the accounts, which are

located at premises owned, maintained, controlled or operated by Facebook, Inc. a social

media application provider headquartered at 1601 Willow Road, Menlo Park, California,

94025.

ATTACHMENT A - 1
USAO #2019R00192

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(206) 553-7970
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ATTACHMENT B
FACEBOOK, INC. ACCOUNTS to be Searched
I. Information to be disclosed
To the extent that the information described in Attachment A related to the
Facebook, Inc. accounts to be searched is within the possession, custody, or control of
Facebook, Inc., including any communications, records, files, logs, posts, payment
records, or information that has been deleted but is still available to Facebook, Inc., or
has been preserved pursuant to requests made under 18 U.S.C. § 2703(f), Facebook, Inc.
is required to disclose the following information to the government for each Facebook,
Inc. account identifier listed in Attachment A:
i/
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ATTACHMENT B - 1 UNITED STATES ATTORNEY
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(206) 553-7970
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a. The contents of all communications associated with the accounts,
including stored or preserved copies of content sent to and from the account, draft
communications, the source and destination of any communications, the date and time at
which the communications were sent;

b. All records or other information regarding the identification of the
accounts, to include full name, physical address, telephone numbers and other identifiers,
records of session times and durations, the date on which the accounts were created, the
length of service, the IP address used to register the accounts, log-in IP addresses
associated with session times and dates, account status, alternative e-mail addresses
provided during registration, methods of connecting, log files, and means and source of
payment (including any credit or bank account number);

c. The types of service utilized;

d. All records or other information stored at any time by an individual
using the accounts, including address books, contact and buddy lists, calendar data,
pictures, files, and the contents of any accounts associated with the identified Facebook,
Inc. accounts; and

e. All records pertaining to communications between Facebook, Inc.
and any person regarding the accounts, including contacts with support services and

records of actions taken.

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II. Information to be seized by the government

All information described above in Section I that constitutes fruits, contraband,
evidence, and instrumentalities of violations of 18 U.S.C. § 2423(b) (Travel with Intent to
Engage in Illicit Sexual Conduct), 18 U.S.C. § 2251(a) (Production of Child
Pornography), 18 U.S.C. § 2252(a)(2) (Receipt/Distribution of Child Pornography), and
18 U.S.C. § 2252(a)(4)(B) (Possession of Child Pornography), committed in or after
2012, including, for each account or identifier listed in Attachment A, information
pertaining to the following matters:
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i

ATTACHMENT B -3 UNITED STATES ATTORNEY

1 700 STEWART STREET, SUITE 5220
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(206) 553-7970
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a. All messages, documents, and profile information, attachments, or
other data that serves to identify any persons who use or access the accounts specified, or
who exercise in any way any dominion or control over the specified accounts;

b. Any address lists or “friend”/contact lists associated with the
specified accounts;

Cc. All images/videos of child pornography, any messages or documents
relating to the transmission of child pornography (including any attachments thereto), and
any profile information from other file- or photo-sharing websites;

d. All messages, communications, or other documents related to the
sexual exploitation or abuse of minors, travel for the purpose, or otherwise evidencing
contact with minors or individuals purporting to be or otherwise facilitate contact with
minors.

e. The types of services utilized;

f. All subscriber records associated with the specified accounts,
including name, address, local and long distance telephone connection records, or records
of session times and durations, length of service (including start date) and types of
service utilized, telephone or instrument number or other subscriber number or identity,
including any temporarily assigned network address, and means and source of payment
for such service) including any credit card or bank account number;

g. Any and all other log records, including IP address captures,
associated with the specified accounts; and

h. Any records of communications between Facebook, Inc., and any
person about issues relating to the accounts, such as technical problems, billing inquiries,
or complaints from other users about the specified accounts, including records of contacts
between the subscriber and the provider’s support services, as well as records of any
actions taken by the provider or subscriber as a result of the communications.

Notwithstanding the criminal offenses defined under 18 U.S.C. §§ 2252 and 2252A,

or any similar criminal offense, Facebook shall disclose information responsive to

this warrant by mailing it to Federal Bureau of Investigation, Attn: Special Agent
ATTACHMENT B - 4 UNITED STATES ATTORNEY
USAO #2019R00192 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 9810]
(206) 553-7970
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Kyle McNeal at 1145 Broadway, Suite #500, Tacoma, WA 98402 or via email to
kmcneal@fbi.gov.

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC
RECORDS PURSUANT TO FEDERAL RULES OF
EVIDENCE 902(11) AND 902(13)

I, _
the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the

, attest, under penalties of perjury by

information contained in this certification is true and correct. I am employed by

Facebook, and my title is . Lam qualified to

 

authenticate the records attached hereto because I am familiar with how the records were
created, managed, stored, and retrieved. I state that the records attached hereto are true
duplicates of the original records in the custody of Facebook. The attached records
consist of _ _ ss [GENERALLY DESCRIBE

RECORDS (pages/CDs/megabytes)]. I further state that:

a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with
knowledge of those matters, they were kept in the ordinary course of the regularly
conducted business activity of Facebook, and they were made by Facebook as a regular
practice; and

b. such records were generated by Facebook electronic process or system that
produces an accurate result, to wit:

1, the records were copied from electronic device(s), storage
medium(s), or file(s) in the custody of Facebook in a manner to ensure that they are true
duplicates of the original records; and

2. the process or system is regularly verified by Facebook, and at all
times pertinent to the records certified here the process and system functioned properly

and normally.

CERTIFICATE OF AUTHENTICITY - 1 UNITED STATES ATTORNEY

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I further state that this certification is intended to satisfy Rules 902(11) and
902(13) of the Federal Rules of Evidence.

 

 

 

Date

CERTIFICATE OF AUTHENTICITY - 2
USAO #2019R00192

Signature

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
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(206) 553-7970
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AFFIDAVIT

STATE OF WASHINGTON Ss

COUNTY OF PIERCE

 

 

I, Kyle McNeal, Special Agent, Federal Bureau of Investigation, being first duly
sworn under oath, depose and state as follows:

1. I am a Special Agent with the Federal Bureau of Investigation (FBI) and
have been for approximately eight years. As part of my duties, I investigate criminal
violations relating to child exploitation and child pornography, including violations
pertaining to the illegal production, distribution, receipt, and possession of child
pornography and material involving the sexual exploitation of minors in violation of 18
U.S.C. §§ 2251, 2252, and 2252A. Iam a graduate of the FBI Academy and have
received further specialized training in investigating child pornography and child
exploitation crimes. I have also had the opportunity to observe and review examples of
child pornography (as defined in 18 U.S.C. § 2256(8)). At this time, I have been
assigned as the South Sound Child Exploitation Task Force (SSCETF) Coordinator and
work with other federal, state, and local law enforcement personnel in the investigation
and prosecution of crimes involving the exploitation of minors.

2. I make this Affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a warrant for information associated with certain
social media accounts as detailed below in paragraph 3 and further described in
Attachment A.

3. Records and information associated with the Facebook accounts:

° SUBJECT ACCOUNT 1: “Moeun Yoeun” (UID: 100014267529700)

° SUBJECT ACCOUNT 2: “Moeun Nobeatches” (UID: 100029529789553)

AFFIDAVIT OF SPECIAL AGENT MCNEAL - | UNITED STATES ATTORNEY

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° SUBJECT ACCOUNT 3: “Moying Yoen” (UID: 10003 1404392100)

° SUBJECT ACCOUNT 4: “Moo Yo” (UID: 100000914824197)

° SUBJECT ACCOUNT 5: “Morin Yuin” (UID: 100034410908581)

e SUBJECT ACCOUNT 6: “J.C.” (UID: )

9 SUBJECT ACCOUNT 7: “Y.C.” (UID: ~ )
that are stored at the premises controlled by Facebook, a social media platform
headquartered at 1601 Willow Road, Menlo Park, CA 94025.

4. This affidavit is made in support of an application for a search warrant
under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require Facebook to
disclose to the government copies of the information (including the content of
communications) further described in Section I of Attachment B. Upon receipt of the -
information described in Section I of Attachment B, government-authorized persons will
review that information to locate the items described in Section II of Attachment B.

5. The facts set forth in this Affidavit are based on my own personal
knowledge; knowledge obtained from other individuals during my participation in this
investigation, including other law enforcement officers; the review of documents and
records related to this investigation; communications with others who have personal
knowledge of the events and circumstances described herein; and information gained
through my training and experience.

6. Because this Affidavit is submitted for the limited purpose of providing
sufficient facts necessary to determine whether there is probable cause in support of the
application for a search warrant, it does not set forth each and every fact that I or others
have learned during the course of this investigation. I have set forth only the facts that I
believe are relevant to the determination of probable cause to believe that evidence,
fruits, and instrumentalities of violations of 18 U.S.C. § 2423(b) (Travel with Intent to
Engage in Illicit Sexual Conduct), 18 U.S.C. § 2251(a) (Production of Child
Pornography), 18 U.S.C. § 2252(a)(2) (Receipt/Distribution of Child Pornography), and
18 U.S.C. § 2252(a)(4)(B) (Possession of Child Pornography).

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I. SUMMARY OF INVESTIGATION
7. This investigation originated with a CyberTip report submitted by
Electronic Service Provider (ESP) Facebook to the National Center for Missing and
Exploited Children (NCMEC). NCMEC is a private, non-profit organization operating
under a congressional mandate to act as the nation’s law enforcement clearing house for
information concerning online child sexual exploitation. In partial fulfillment of that
mandate, NCMEC operates a CyberTip line, a resource for reporting online crimes
against children. ESPs report to NCMEC, via the CyberTip line, whenever they discover
that a subscriber has violated their terms of service and/or used their services to transmit
child pornography or engage in sexual exploitation of minors.
8. Facebook identified four user accounts, all of which it linked to the same
individual, MOEUN YOEUN:
e SUBJECT ACCOUNT 1: “Moeun Yoeun” (UID: 100014267529700)
e SUBJECT ACCOUNT 2: “Moeun Nobeatches” (UID: 100029529789553)
e SUBJECT ACCOUNT 3: “Moying Yoen” (UID: 100031404392100)
e SUBJECT ACCOUNT 4: “Moo Yo” (UID: 100000914824197)
9. According to Facebook,

A 36-year-old male appears to be enticing minors to produce and send apparent child
expat imagery (CE!) and engage in sexual activity via private messages. Conversations
Cale that he may have travelled to the Philippines in order to engage in sexual activity with
minors, Profile pictures and conversations also indicate that he may be in a position of public
trust as an active member of the US military.
10. Facebook provided account content associated with SUBJECT
ACCOUNTS 1-3, including private messages between the user of those accounts
(YOEUN) and other Facebook user(s) in the Philippines. These communications show
that YOEUN intended to travel, and did in fact travel, to the Philippines to sexually abuse
young girls. YOEUN also sought sexually explicit visual depictions of girls and on

multiple occasions offered to pay to have people kidnapped, beaten, raped, and tortured.

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11. The messages below were all exchanged by the user of SUBJECT
ACCOUNTS 1-3 and two different Facebook accounts (SUBJECT ACCOUNTS 6 and
7), both of which Facebook reported were used by someone in the Philippines. From
context, it seems clear that the same person is using SUBJECT ACCOUNTS 1-3. In the
excerpts below, SUBJECT ACCOUNT 6 is identified as J.C., and SUBJECT ACCOUNT
7 as Y.C.

October 14, 2018

 

SUBJECT ACCCOUNT 1; You have girls 8
I.c.. ves.when meet?

suBJECT AccounT 1: Make video
J.C.: yes dad

ic.. when you want

SUBJECT ACCOUNT 1. Now
1c. 0k baby i send you later

SUBJECT ACCOUNT 1: 1OW Old

Ic: after 2hours.

ic. 14 or 11 yearsold

SUBJECT ACCOUNT 1: Face

3K ok

8 ld?
suBsEcT account 1: © Y@4rs old

ic. YES dad wait

J.C.: [Facebook reported that this user sent an image of a prepubescent girl]

SUBJECT ACCOUNT 1: Name

J.C.: [Facebook reported that this user sent an image of a prepubescent girl]

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#EK

SUBIECT ACCOUNT 1: OK
SUBJECT ACCOUNTI: “[NAME REDACTED] again”

J.C.: [Facebook reported that this user sent an image of a prepubescent girl]

kk

SUBJECT ACCOUNT 1: “[NAME REDACTED] will fuck”
ic. Yes dad, she waiting you

tc. she always ask me about u
SUBJECT ACCOUNT 1. ¥USt two Little girls in video
SUBJECT ACCOUNT 1: “Yes I will fuck [NAME REDACTED]

i)
J.C.: when

ic. YES

SUBJECT ACCOUNT 1: Beginning of November

I.c.. 0K dad,she waiting always

SUBJECT ACCOUNT 1: 40w much to eat their pussies

1c. You dad.how much you give each girl?

SUBJECT ACCOUNT 1; 2K each

JC.: 12y

J.C.: ok dad
SUBJECT ACCOUNT 1: You get little girls to stay with me one night

SUBJECT ACCOUNT 1: | want naked one night in my bed

1c. Y€8 dad.when meet?november?

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SUBJECT ACCOUNT 1: 1 1 November

Ic: Yes dad how many little i bring?

suBIECT AccouNT 1: Make sure all 7-9 years old
J.C.: “Ok, really sure ?you want [NAME REDACTED] is virgin?”
SUBJECT ACCOUNT 1: Y@S and 3 others

1c. Yes dad i bring.

J.C." Yes but [NAME REDACTED] is one of I bring”

SUBJECT ACCOUNT 1: Y@S Of Course
SUBJECT ACCOUNT 1. '™m gonna make her bleed
1.c.: Ok but 7-9 yearold eat pussy only?and if you want blowjob ?

ok

SUBJECT ACCOUNT 1: Y@S | want to feel little girls suck dick

November 6, 2018

SUBJECT ACCOUNT 2: Chat me here it's moeun
1c; yes i know

SUBJECT ACCOUNT 2: “[NAME REDACTED] is ready?”
SUBJECT ACCOUNT 2. |’ gonna be her first?

1c: Yes shes ready
SUBJECT ACCOUNT 2: | think gonna feel heaven

ic: yes bby.im excited and little girls

SUBIECT ACCOUNT 2: How old you give?

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J.C.: “[NAME REDACTED] 12, [NAME REDACTED 12, [NAME
REDACTED] 12”

>
SUBJECT ACCOUNT 2; POW much’

a8 ok

1c. ok each eat pussy

Ail of th n k me?
SUBIECT ACCOUNT 2: /!! Of them gonna suck me

1c. Yes. tell and i teach

SUBJECT ACCOUNT 2: “WOW heaven

November 14, 2018
SUBJECT ACCOUNT 2: My dick is ready for the video

se ok ok

 

ic. 1s end u video but do jot send

IC: Later i send u again and 8 yearsoid

J.C.: [Sent a video that Facebook reported as apparent child exploitation material
in a separate CyberTip Report #47142073.!]

SUBJECT ACCOUNT 2; Ni¢@ pussy

SUBJECT ACCOUNT 2: YUMMY

oe

SUBJECT ACCOUNT 2; How ald

SUBJECT ACCOUNT 2; | Want to eat that

 

' The CyberTip Report, which included the video file uploaded and sent to SUBJECT ACCOUNT 2, does not
indicate whether Facebook viewed this file. As such, I have not reviewed this video to confirm whether it
constitutes child exploitation material as reported by Facebook.

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SUBJECT ACCOUNT 2: You think she can handie getting fucked?
rc. ones virgin. maybe she agree

SUBJECT ACCOUNT 2: Can | see the 8 years ald

December 23, 2018

SUBJECT ACCOUNT 3: “How is [NAME REDACTED]’s pussy”

SUBJECT ACcouNT 3: ! Make it hurt lol

January 8, 2019

SUBJECT ACCOUNT 3: What girls you have right now

SUBJECT ACCOUNT 3: | Want to cum

a6 6 ok

SUBIECT ACCOUNT3. |™ going there in February

aK

SUBIECT ACcouNT3: My phone number is +12533559252

SUBJECT ACCOUNT 3: “when I go to Philippines I can fuck [NAME
REDACTED]?”

January 9, 2019

yc. Bby | have litle.but she is very young

yc. | think 6yearsold only.but picture only ?

SUBJECT ACCOUNT 3: /Nat’s very young

yc. Yes.8y u want?
SUBJECT ACCOUNT3: YES YES YES

SUBJECT AccouNT 3: My favorite

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January 18, 2019
y.c. Hello bby, when video aqain?i have new little.

 

vc: Beautiful and virgin.but shes 12yearsold

SUBJECT ACCOUNT 3: | dont want 12 i want younger

February 6, 2019
Y.C.: “Hi dad im [NAME REDACTED] tomorrow you send”
Y.C.: [Facebook reported that Y.C. then sent three videos of apparent child

 

exploitation material, which was further documented in CyberTip Report
#47171078]

February 8, 2019
SUBJECT ACCOUNT 3: Capture her rape her and brake her face permanent damage

 

yc. Rape is hard only broke face and body

SUBJECT ACCOUNT 3: Broken legs

yc.) &S broken legs and broke face but not rape

SUBJECT ACCOUNT 3: OK how much for that?

36K oR

y.c.: 15 k?is maybe hard but im sure to broke face and legs

Kx
SUBJECT ACCOUNT 3: Pay after finish?
yc. Like if u send now do for tommorow.suree

SUBJECT ACcouNT 3: | dont send first
SUBJECT ACCOUNT 3: L@st time i send nothing happen

yc. Yess.send half i paid promise sure

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SUBJECT ACcouNT 3; What if kill?
yc. You need more money for kill

ok

v.c. Boy dont kill. is bad

February 12, 2019
SUBJECT ACCOUNT 3: Baby i will see you tomorrww

SUBJECT ACCOUNT 3: What time are you available ?

SUBJECT ACCOUNT 3: | gO your house or hotel?

Y.C.: Morning and aftrnoon im available.hotel only my house is small and i shy to u
y.c.: | bring littles.2 little first?i bring

SUBJECT ACCOUNT 3; OK baby

SUBJECT ACCOUNT 3: How old?

y.c.. How many days are u hrre?

SUBJECT ACCOUNT 3: Until 17 feb
yc. 9 and 11 first.
SUBJECT ACCOUNT 3: !'M going GO hotels north edsa

SUBJECT ACCOUNT 3: 'm leaving airport

February 16, 2019

yc: Are u still in manila?

SUBJECT ACCOUNT 3: No I'm not anymore

KK

SUBIECT ACCOUNT 3: “What girl you have

of

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y.c, 10 and 9.you want video bby?

SUBJECT ACCOUNT 3: Let me see face

February 17, 2019

SUBJECT ACCOUNT 3: How did the little girl like getting her pussy licked for tne first time

12. As shown above, SUBJECT ACCOUNT 3 received three videos from Y.C.
on February 6, 2019. Facebook reported each video constituted apparent child
exploitation material and submitted CyberTip Report #47171078 to NCMEC
documenting this activity. I reviewed that CyberTip Report, which states that the three
files uploaded by Y.C. were viewed by Facebook prior to being submitted to NCMEC. I
reviewed these videos and describe each below:

Video 1: This video depicts a fully clothed minor female sitting down. She lifts up
her shirt and exposes her breasts to the camera. Based on her clothing, this female
appears to be the same prepubescent female who is one of two individuals
depicted in the videos described below.

Video 2: This video depicts two female minors. Based on their youthful
appearance, body size, lack of breast/pubic development, and lack of pubic/body
hair, I believe both are prepubescent. Both children are nude from the waist down.
Each minor is depicted rubbing her genitals during the video.

Video 3: This video depicts two female minors. Based on their youthful
appearance, body size, lack of breast/pubic development, and lack of pubic/body
hair, I believe both are prepubescent. Both children are nude from the waist down.

Each minor is shown rubbing her genitals with her fingers during the video.

13. Based on the content provided by Facebook, it appears that the same person
is the user of SUBJECT ACCOUNTS 1-3. As noted above, Facebook also identified
SUBJECT ACCOUNT 4 as another account linked to the same user. According to
Facebook, all four accounts are linked by machine cookies. Cookies are files placed on a
computer by a website. They are used for a variety of purposes, including tracking user
activities. A website like Facebook can place cookies on a user's computer and through
those cookies could potentially (and easily) note that multiple user accounts have used

the same computer.

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14, The registration information associated with SUBJECT ACCOUNT 4
showed that the user of that account registered with the email address,
moeun.yoeun@us.army.mil. That user also listed his gender as male and provided his
birthdate, XX/XX/1982. U.S. Department of Defense records show that MOEUN
YOEUN is on active duty in the United States Army. He is a male and born on the same
date as the user of SUBJECT ACCOUNT 4.

15. | As shown above, the user of SUBJECT ACCOUNT 3 provided a telephone
number during his communications with Y.C. U.S. Department of Defense records show
that the email address associated with SUBJECT ACCOUNT 4 and the telephone number
provided by the user of SUBJECT ACCOUNT 3 are both associated with U.S. Army
Staff Sergeant MOEUN YOEUN, who recently served in South Korea.

16. | Facebook provided IP address information for each of SUBJECT
ACCOUNTS 1-4. These records showed that various IP addresses were associated with
SUBJECT ACCOUNTS 1-4 between September 2018 and February 2019. In response to
a summons, Comcast Communications reported IP addresses associated with each of
SUBJECT ACCOUNTS 1-4 were assigned to MOEUN YOEUN at his residence in
Steilacoom, Washington during this time.

17. On March 5, 2019, I obtained search warrants for YOEUN’s home, car, and
person from the Honorable Theresa L. Fricke of the United States District Court for the
Western District of Washington. A team of law enforcement agents executed those
warrants the following day.

18. During the search of YOEUN’s home, agents located a USB thumb drive
plugged into the television. A forensic preview of that thumb drive revealed it contained
multiple files of child pornography, including the two below which were viewed and
described to me by Special Agent Patrick Dospoy:

FILE 1: This image depicts a nude, prepubescent female lying on her back. She
is shown inserting her right index finger into her vagina. Based on her youthful
appearance, stature, lack of breast/muscular development, and lack of pubic/body
hair, the child is estimated to be between seven and ten years old.

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FILE 2: This image depicts a prepubescent female wearing a purple striped shirt
and nude from the waist down. She is sitting with her left leg raised toward her
head and right hand pulling her inner right thigh away from the left in order to
expose her genitals to the camera. Her genitals are the focal point of the image.

Based on her youthful appearance, stature, lack of body development, and lack of

pubic/body hair, the child is estimated to be between seven and ten years old.

19. On the morning of March 6, 2019, I encountered YOEUN at Joint Base
Lewis-McChord. I approached YOEUN and asked if he would be willing to answer a
few questions. He agreed, and I advised him of his constitutional rights. After
acknowledging he understood his rights, YOEUN participated in a recorded interview.
Among other things, YOEUN acknowledged the following:

e YOEUN lives alone.

e YOEUN is the owner and user of SUBJECT ACCOUNTS 1-4 and used
SUBJECT ACCOUNTS 1-3 to attempt to purchase minors for sex and/or
seek out sexually explicit visual depictions of minors.

e YOEUN travelled to the Philippines in February 2019 and paid to have
sexual contact with at least two minors, whom he estimated were twelve
years old.

20. On March 11, 2019, I reviewed the contents of an extraction of YOEUN’s
iPhone, telephone number (224) 337-6686, pursuant to a search warrant. Upon reviewing
the contents, I discovered SUBJECT ACCOUNT 5, another Facebook account apparently
used by YOEUN. The account name was identified as “Moren Yuin” (UID:
100034410908581).

21. On March 11, 2019, I conducted an Internet search for Facebook account
“Morin Yuin” and found the following information, which was publicly available. The
“Intro” section on the account reads, “It’s Moeun.” The account contains what appeared
to be an image of YOEUN in his U.S. Army Physical Fitness uniform that was posted on
February 27, 2019. The following images were found on the account including an image
of U.S. Currency and foreign currency with a military nameplate that reads, “YOEUN.”

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OO YOU KNOW) MOREN?

To see what he shares with friends, send him a friend request.

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Moren Yuin updated his cover photo.
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22. While the information reported by Facebook did not include any
information to suggest YOEUN used SUBJECT ACCOUNT S to engage in illegal
activity, the other information shows that he used multiple Facebook accounts to engage
in these illicit activities previously. I therefore believe that SUBJECT ACCOUNT 5 may
contain evidence that will help to identify YOEUN and further tie him to the illegal
conduct reported by Facebook and/or may contain additional evidence of attempts by
YOEUN to sexually exploit minors.

23. I conducted an internet search for MOEUN YOEUN and found several
YouTube videos of YOEUN depicted with several different females. At least one of the
videos was labeled Borocay. I know Borocay to be an island in the Philippines.
According YouTube, this video was uploaded on or about August 9, 2016.

24. also obtained travel records associated with MOEUN YOEUN from

Homeland Security Investigations. According to these records, YOEUN has been

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traveling to and from east Asia since at least 2006. And these records show YOEUN
traveled to the Philippines at least as early ast 2012.

VI. BACKGROUND REGARDING FACEBOOK’S SERVICES

25. Facebook, Inc. owns and operates the free-access social networking website
Facebook.com, accessed at http://www.facebook.com. Facebook allows its subscribers to
establish personal accounts. Subscribers can then use their accounts to share written
news, communications, photographs, videos, and other information with other Facebook
users, and sometimes with the general public; to purchase and sell things, play games,
and engage in numerous additional computer based activity.

26. A Facebook subscriber typically creates a personal profile using photos of
him/herself and a name or nickname their friends and family know. This permits friends
and family to find the subscriber's account. Facebook asks subscribers to provide basic
contact information. This may include the subscriber’s full name, birth date, contact e-
mail addresses, physical address (city, state, zip code, and country), telephone numbers,
screen names, associated websites, and other personal identifiers. Subscribers can list
credit, debit or other financial account numbers for use when making purchases on or
through Facebook. Facebook also asks subscribers to create an account password. The
password, known only to the subscriber (and anyone to whom s/he gives it) limits access
to the account. Only someone logged in with the password can change profile details,
profile photographs or privacy settings.* Only a person who has logged into the account

"> send messages (similar to text messaging), or

with a password can post on the "Wall,
send friend requests under the identity of the account owner. Facebook subscribers rarely
share the password to their accounts. There is little purpose in sharing passwords,

because anyone whom the account owner permits can post messages on the user's "Wall."

 

Subscribers must also be logged into their accounts to make purchases, post ads, make comments, adjust
notifications they receive and to change other aspects of their accounts.

> A “Wall” in a particular subscriber’s Facebook page is a space where the subscriber and his or her “Friends” (if
permitted by the subscriber) can post and respond to status updates, check-ins, messages, images, attachments, and
links.

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27. Subscribers can select different levels of privacy for the communications
and information associated with their Facebook accounts. By adjusting these privacy
settings, a subscriber can make profile information, status updates, check-ins, and other
posted material available only to himself or herself, to particular Facebook users, to all
Facebook users, or to anyone with access to the Internet, including people who are not
Facebook users.

28. Facebook subscribers can create personal profiles that include photographs,
personal statistics such as birthdate, schooling, employer, lists of personal interests, and
other information. Subscribers can also post “check-ins” and “status updates” about
their whereabouts and actions, as well as links to videos, photographs, articles, and other
items available elsewhere on the Internet. Facebook subscribers can also post
information about upcoming “events,” such as social occasions, by listing the event’s
time, location, host, and guest list.

29. A subscriber can also connect directly with individual Facebook users by
sending each user a “Friend Request.” If the recipient of a “Friend Request” accepts the
request, then the two users will become “Friends” for purposes of Facebook and can
exchange communications or view information about each other. Each Facebook user’s
account includes a list of that user’s “Friends” and a “News Feed,” which highlights
information about the user’s “Friends,” such as status updates, check-ins, profile changes,
and upcoming events. Subscribers may also join groups or networks to connect and
interact with other users who are members of thé same group or network. A Facebook
network or group has options for adjusting privacy settings to grant or limit viewing or
posting to the group’s page.

30. In Facebook’s Photos application, subscribers can upload an unlimited

number of albums and photos. The Photos application can capture and store a geometric

 

‘ A “check-in” accesses the user’s mobile device GPS to let friends know exactly where the subscriber is.

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representation of a face (Known as Faceprint data). Subscribers can “tag” (i.e., label)
other Facebook users depicted in a photo or video. When a user is tagged in a photo or
video, they receive a notification of the tag and a link to see the photo or video.

31. For Facebook’s purposes, a subscriber’s “Photoprint” includes all photos
uploaded by that subscriber that have not been deleted, as well as all photos uploaded by
any user that have that subscriber tagged in them. As uploaded, a digital photo often
contains embedded data about when and where it was taken, and other information on its
genesis. That information is called Exchangeable Image File Format (EXIF) information.
Facebook “scrapes” this information off photos before placing them onto a page, but
retains the original data.

32. | Facebook users can exchange private messages on Facebook with other
users. These messages, which are similar to e-mail messages, are sent to the recipient’s
“Inbox” on Facebook, which also stores copies of messages sent by the recipient, as well
as other information. Facebook users can also post comments on the Facebook profiles
of other users or on their own profiles; such comments are typically associated with a
specific posting or item on the profile.

33. | Facebook captures and retains, for each subscriber account, data regarding
the date, time, place, and IP addresses (IP Logs) used when the subscriber accesses
his/her account; actions taken and items viewed while using the account; and subscriber
geographic location, if that setting is enabled. This data cannot be manipulated by the
subscriber. Facebook also retains, and makes available to the account subscriber, all
information contained in Appendix A, attached and incorporated by reference. Material
posted by the subscriber is retained by Facebook until sometime after it is deleted by the
subscriber.

34. In Facebook jargon,

° Subscriber “Basic Contact Information” includes subscriber, name,
birth date, email address(es), physical address (city, state, zip, country), all telephone

numbers, screen name and any associated website;

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° “Basic Subscriber Information (BSI)” is the subscriber’s
identification number, name, email address, date and time stamp of account creation,
registered cellular telephone number, record of recent logins, and whether the
subscriber’s page is publicly viewable; and

° A “Neoprint” is an expanded view of a given subscriber profile. It
includes subscriber profile contact information, friend lists; groups and networks of
which the subscriber is a member; “News Feed” information; “Wall” postings; status
updates; links to videos, photographs, articles, and other items; event postings; rejected
“Friend” requests; comments; messages; gifts; pokes; tags; and information about the
subscriber’s access and use of Facebook applications.

35. Facebook subscribers may communicate directly with Facebook about
issues relating to their account, such as technical problems, billing inquiries, or
complaints from the subscriber or other users. Social networking providers like
Facebook typically retain records about such communications, including records of
contacts between the subscriber and the provider’s support services, as well records of
any actions taken by the provider or subscriber as a result of the communications.

36. |The company that operates Facebook.com is Facebook, Inc. Facebook, Inc.
has established a contact address for Law Enforcement and has asked law enforcement to
serve warrants either by using a website that Facebook has set up for use of law
enforcement, or by postal mail. The website, street address, and fax number are listed
above and incorporated here. Law enforcement regularly uses these to contact Facebook.

VIL PAST EFFORTS TO OBTAIN THIS EVIDENCE

37. Some of this evidence is available on digital devices seized as part of this
investigation. However, additional content and records are likely in the custody or
control of Facebook. In addition, preservation requests were submitted to Facebook
requesting they preserve all evidence related to the listed Facebook UID numbers
previously identified in paragraph 3.

VII. INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

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38. Pursuant to Title 18, United States Code, Section 2703(g), this application
and affidavit for a search warrant seeks authorization to permit Facebook, and their
representatives and employees, to assist agents in the execution of these warrants. Once
issued, the search warrants will be presented to Facebook with direction that they identify
the accounts described in Attachment.A, as well as other subscriber and log records
associated with the SUBJECT ACCOUNTS, as set forth in Attachment B.

39. The search warrants will direct Facebook to create an exact copy of the
specified accounts and records.

40. I, and/or other law enforcement personnel will thereafter review the copy of
the electronically stored data, and identify from among that content those items that come
within the items identified in Section II to Attachment B, for seizure.

41. Analyzing the data contained in the forensic image may require special
technical skills, equipment, and software. It could also be very time-consuming.
Searching by keywords, for example, can yield thousands of “hits,” each of which must
then be reviewed in context by the examiner to determine whether the data is within the
scope of the warrant. Merely finding a relevant “hit” does not end the review process.
Keywords used originally need to be modified continuously, based on interim results.
Certain file formats, moreover, do not lend themselves to keyword searches, as keywords,
search text, and many common e-mail, database and spreadsheet applications do not store
data as searchable text. The data may be saved, instead, in proprietary non-text format.
And, as the volume of storage allotted by service providers increases, the time it takes to
properly analyze recovered data increases, as well. Consistent with the foregoing,
searching the recovered data for the information subject to seizure pursuant to this
warrant may require a range of data analysis techniques and may take weeks or even
months. All forensic analysis of the data will employ only those search protocols and
methodologies reasonably designed to identify and seize the items identified in Section II

of Attachment B to the warrant,

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42. Based on my experience and training, and the experience and training of
other agents with whom I have communicated, it is necessary to review and seize a
variety of messenger communications, chat logs, files, payment records and documents,
that identify any users of the identified accounts and communications sent or received in
temporal proximity to incriminating messages that provide context to the incriminating
communications.

IX. CONCLUSION

43. Based on the forgoing, I request that the Court issue the proposed search
warrants. This Court has jurisdiction to issue the requested warrants because it is “a court
of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),
(b)(1)(A) & (c)\((A). Specifically, the Court is “a district court of the United States . . .
that - has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).
Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not
required for the service or execution of this warrant. Accordingly, by this Affidavit and
Warrant, I seek authority for the government to search all of the items specified in

Section I, Attachment B, and specifically to seize all of the data, documents and records

that are identified in Section II to that same Attachment.

KyléMcNeal, Affiant
Special Agent
Federal Bureau of Investigation

 

SUBSCRIBED and SWORN to before me this ot Sy of March, 2019.

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THERESA L. FRICKE
United States Magistrate Judge

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ATTACHMENT A - Facebook, Inc. Accounts

The electronically stored data, information, and communications contained in,

related to, and associated with, including all preserved data associated with Facebook,

Inc. accounts:

e SUBJECT ACCOUNT 1: “Moeun Yoeun” (UID: 100014267529700)

° SUBJECT ACCOUNT 2: “Moeun Nobeatches” (UID: 100029529789553)
© SUBJECT ACCOUNT 3: “Moying Yoen” (UID: 10003 1404392100)

° SUBJECT ACCOUNT 4: “Moo Yo” (UID: 100000914824197)

° SUBJECT ACCOUNT 5: “Morin Yuin” (UID: 10003441090858 1)

° SUBJECT ACCOUNT 6: “J.C.” (UID: )

@ SUBJECT ACCOUNT 7: “Y.C.” (UID: )

as well as all other subscriber and log records associated with the accounts, which are

located at premises owned, maintained, controlled or operated by Facebook, Inc. a social

media application provider headquartered at 1601 Willow Road, Menlo Park, California,

94025.

ATTACHMENT A - I
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ATTACHMENT B
FACEBOOK, INC. ACCOUNTS to be Searched
I. Information to be disclosed
To the extent that the information described in Attachment A related to the
Facebook, Inc. accounts to be searched is within the possession, custody, or control of
Facebook, Inc., including any communications, records, files, logs, posts, payment
records, or information that has been deleted but is still available to Facebook, Inc., or
has been preserved pursuant to requests made under 18 U.S.C. § 2703(f), Facebook, Inc.
is required to disclose the following information to the government for each Facebook,
Inc. account identifier listed in Attachment A:
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ATTACHMENT B - 1 UNITED STATES ATTORNEY

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a. The contents of all communications associated with the accounts,
including stored or preserved copies of content sent to and from the account, draft
communications, the source and destination of any communications, the date and time at
which the communications were sent;

b. All records or other information regarding the identification of the
accounts, to include full name, physical address, telephone numbers and other identifiers,
records of session times and durations, the date on which the accounts were created, the
length of service, the IP address used to register the accounts, log-in IP addresses
associated with session times and dates, account status, alternative e-mail addresses
provided during registration, methods of connecting, log files, and means and source of
payment (including any credit or bank account number);

c. The types of service utilized;

d. All records or other information stored at any time by an individual
using the accounts, including address books, contact and buddy lists, calendar data,
pictures, files, and the contents of any accounts associated with the identified Facebook,
Inc. accounts; and

e. All records pertaining to communications between Facebook, Inc.
and any person regarding the accounts, including contacts with support services and

records of actions taken.

ATTACHMENT B - 2 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2019R00192 SEATTLE, WASHINGTON 98101

(206) 553-7970
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Il. ‘Information to be seized by the government

All information described above in Section I that constitutes fruits, contraband,
evidence, and instrumentalities of violations of 18 U.S.C. § 2423(b) (Travel with Intent to
Engage in Illicit Sexual Conduct), 18 U.S.C. § 2251(a) (Production of Child
Pornography), 18 U.S.C. § 2252(a)(2) (Receipt/Distribution of Child Pornography), and
18 U.S.C. § 2252(a)(4)(B) (Possession of Child Pornography), committed in or after
2012, including, for each account or identifier listed in Attachment A, information
pertaining to the following matters:
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ATTACHMENT B - 3 UNITED STATES ATTORNEY
. 700 STEWART STREET, SUITE 5220
USAO #2019R00192 SEATTLE, WASHINGTON 98101
(206) 553-7970
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a. All messages, documents, and profile information, attachments, or
other data that serves to identify any persons who use or access the accounts specified, or

who exercise in any way any dominion or control over the specified accounts;

b. Any address lists or “friend”/contact lists associated with the
specified accounts;
c. All images/videos of child pornography, any messages or documents

relating to the transmission of child pornography (including any attachments thereto), and
any profile information from other file- or photo-sharing websites;

d. All messages, communications, or other documents related to the
sexual exploitation or abuse of minors, travel for the purpose, or otherwise evidencing
contact with minors or individuals purporting to be or otherwise facilitate contact with
minors.

e. The types of services utilized;

f. All subscriber records associated with the specified accounts,
including name, address, local and long distance telephone connection records, or records
of session times and durations, length of service (including start date) and types of
service utilized, telephone or instrument number or other subscriber number or identity,
including any temporarily assigned network address, and means and source of payment
for such service) including any credit card or bank account number;

g. Any and all other log records, including IP address captures,
associated with the specified accounts; and

h. Any records of communications between Facebook, Inc., and any
person about issues relating to the accounts, such as technical problems, billing inquiries,
or complaints from other users about the specified accounts, including records of contacts
between the subscriber and the provider’s support services, as well as records of any
actions taken by the provider or subscriber as a result of the communications.

Notwithstanding the criminal offenses defined under 18 U.S.C. §§ 2252 and 2252A,
or any similar criminal offense, Facebook shall disclose information responsive to

this warrant by mailing it to Federal Bureau of Investigation, Attn: Special Agent

ATTACHMENT B - 4 UNITED STATES ATTORNEY
USAO #2019R00192 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

 
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Kyle McNeal at 1145 Broadway, Suite #500, Tacoma, WA 98402 or via email to
kmcneal(@fbi.gov.

ATTACHMENT B - 5 UNITED STATES ATTORNEY
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(206) 553-7970
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CERTIFICATE OF AUTHENTICITY OF DOMESTIC
RECORDS PURSUANT TO FEDERAL RULES OF
EVIDENCE 902(11) AND 902(13)
I, __, attest, under penalties of perjury by

the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the

 

information contained in this certification is true and correct. I am employed by

Facebook, and my title is . Lam qualified to

 

authenticate the records attached hereto because I am familiar with how the records were
created, managed, stored, and retrieved. J state that the records attached hereto are true

duplicates of the original records in the custody of Facebook. The attached records

 

consist of [GENERALLY DESCRIBE
RECORDS (pages/CDs/megabytes)]. I further state that:
a. all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with
knowledge of those matters, they were kept in the ordinary course of the regularly
conducted business activity of Facebook, and they were made by Facebook as a regular
practice; and

b. such records were generated by Facebook electronic process or system that
produces an accurate result, to wit:

1. the records were copied from electronic device(s), storage
medium(s), or file(s) in the custody of Facebook in a manner to ensure that they are true
duplicates of the original records; and

2. the process or system is regularly verified by Facebook, and at all
times pertinent to the records certified here the process and system functioned properly

and normally.

CERTIFICATE OF AUTHENTICITY - 1 UNITED STATES ATTORNEY
USAO #2019R00192 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
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I further state that this certification is intended to satisfy Rules 902(11) and
902(13) of the Federal Rules of Evidence.

 

Date Signature
CERTIFICATE OF AUTHENTICITY - 2 UNITED STATES ATTORNEY
USAO #2019R00192 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
